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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA ex rel.                      )
CHRIS RIEDEL,                                         )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )      Case No. 1:12-cv-01423 (RBW)
                                                      )
BOSTON HEART DIAGNOSTICS CORP.,                       )
                                                      )
                       Defendant.                     )
                                                      )

                             JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a) and the qui tam provisions of the False Claims Act, 31 U.S.C.

§§ 3729-33, and in accordance with the terms and conditions of the November 13, 2019, Settlement

Agreement among the United States, Defendant Boston Heart Diagnostics Corporation, and Relator

Chris Riedel (the “Settlement Agreement”), the United States and Relator, through undersigned

counsel, file this Joint Stipulation of Dismissal, in accordance with the terms set forth below.

       The United States, Relator, and Defendant have entered into a settlement agreement which

compromises certain of the claims and causes of action set forth in Relator’s qui tam Complaint.

Moreover, the United States and Relator have settled any and all claims that Relator may have against

the United States for a share of the recovery from Defendant under the Settlement Agreement. Also,

the Relator has settled any and all claims and causes of action that it may have against Defendant

under 31 U.S.C. § 3730(d)(1) for expenses, attorney fees and costs related to Relator’s qui tam

Complaint. Relator therefore stipulates that the Settlement Amount set forth in the Settlement

Agreement and the terms and conditions described therein are fair, adequate, and reasonable under
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all circumstances, that he will not challenge the settlement pursuant to 31 U.S.C. § 3730(c)(2)(B),

and that he expressly waives the opportunity for a hearing on any objection to the settlement under

31 U.S.C. § 3730(c)(2)(B).

       Accordingly, consistent with the terms of the Settlement Agreement, Rule 41(a), and 31

U.S.C. § 3730(b)(1), the United States, Defendant, and Relator hereby stipulate to dismissal of the

qui tam Complaint. The dismissal shall be with prejudice as to Relator. With respect to the United

States, the dismissal shall be with prejudice as to the Covered Conduct specified in paragraph D(a)–

(b) of the Settlement Agreement, and otherwise without prejudice to the United States.

       A stipulated dismissal under Rule 41(a)(1)(A)(ii) is appropriate because all parties who have

appeared have signed the stipulation.



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November 20, 2019                             Respectfully submitted,


FOR THE RELATOR:                              FOR THE UNITED STATES:

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                       CERTIFICATE OF FILING AND SERVICE

        I HEREBY CERTIFY that on this 20th day of November 2019, I caused the foregoing
Joint Stipulation of Dismissal, to be filed using the Court’s EC/EMF system, thereby providing
notice to all counsel of record.


                                           _____/s/_______________________________
                                           PAUL A. MUSSENDEN
                                           Assistant United States Attorney




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